                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION

 TED SHARPENTER, Individually and On Behalf
                                       )
 of All Others Similarly Situated,     )
                                       )
                  Plaintiff,           )
                                       ) Case No. 1:17-cv-00113-MWB
       v.                              )
                                       )
 ROCKWELL COLLINS, INC., ANTHONY J.    ) CLASS ACTION
 CARBONE, CHRIS A. DAVIS, RALPH E.     )
 EBERHART, JOHN A. EDWARDSON,          )
 RICHARD G. HAMERMESH, DAVID LILLEY, )
 ROBERT K. ORTBERG, ANDREW J.          )
 POLICANO, CHERYL L. SHAVERS, JEFFREY )
 L. TURNER, JOHN T. WHATES, UNITED     )
 TECHNOLOGIES CORPORATION, and         )
 RIVETER MERGER SUB CORP.,             )
                                       )
                  Defendants.          )
                                       )
              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Ted

Sharpenter (“Plaintiff”) hereby voluntarily dismisses its individual claims in the above-captioned

action (the “Action”) with prejudice as to Plaintiff only, and without prejudice as to its claims on

behalf of the putative class in the Action. Because this notice of dismissal is being filed before

service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal

of the Action is effective upon filing of this notice.




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Dated: January 18, 2018                  BAER LAW OFFICE


                                  By: /s/ Kimberley K. Baer

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